Case 1:17-cr-00202-JPH-MJD Document 46 Filed 10/30/20 Page 1 of 3 PageID #: 128




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                               )
                                                        )
                              Plaintiff,                )
                                                        )
                         v.                             )     No. 1:17-cr-00202-JPH-MJD
                                                        )
JAMES WRAY BOURGOYNE,                                   ) -01
                                                        )
                              Defendant.                )

                                              ORDER

                                                  I.

       Defendant filed a pro se letter that the Court construed as a Motion for Compassionate

Release pursuant to Section 603 of the First Step Act of 2018 (the “First Step Act”). Counsel has

appeared on behalf of Defendant.

                                                  II.

       Pending counsel’s review and analysis of Defendant’s eligibility for compassionate release

pursuant to the First Step Act of 2018, and to allow counsel to communicate with Defendant

regarding the attorney-client relationship, this matter is stayed. Proceedings will resume, and the

stay will be lifted, when counsel files an Amended Motion for Compassionate Release on

Defendant’s behalf or adopts Defendant’s previously-filed Motion (by notifying the Court and

filing a motion to lift the stay), a Stipulation to Reduction of Sentence is filed, or the Court grants

counsel’s motion to withdraw from Defendant’s case. The Court notifies the parties that, if one of

these events has not occurred by January 20, 2021, the Court will lift the stay and enter a briefing

order. The Court will extend the stay only upon motion from Defendant's counsel that is supported

by good cause.
Case 1:17-cr-00202-JPH-MJD Document 46 Filed 10/30/20 Page 2 of 3 PageID #: 129




                                               III.

        Requests for compassionate release are governed by 18 U.S.C. § 3582(c)(1)(A)(i). That

section prevents a court from modifying a sentence until "after the defendant has fully exhausted

all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant's behalf or the lapse of 30 days from the receipt of such a request by the warden of the

defendant's facility, whichever is earlier." This Court has held that the exhaustion requirement is

not jurisdictional and can be waived by the government but that the Court cannot waive it over the

government's objection. See United States v. Cox, No. 4:18-cr-17-TWP-VTW-1, 2020 WL

1923220, at *3 (S.D. Ind. Apr. 21, 2020); United States v. Jackson, No. 2:15-cr-00013-JMS-

CMM-1, Dkt. 137 (S.D. Ind. Apr. 28, 2020). Accordingly, any Amended Motion for

Compassionate Release or motion to lift stay and adoption of Defendant’s previously-filed Motion

filed consistent with Part II of this Entry must be supported by evidence that Defendant has

exhausted administrative remedies or that 30 days have passed since the Warden received

Defendant's request for compassionate release (such as a document showing the warden's receipt

of the request, a denial from the warden, or a declaration under penalty of perjury stating when

Defendant made the request for compassionate release, the contents of the request, and how it was

transmitted to the warden). Alternatively, Defendant's counsel may confer with the United States

and submit a statement certifying that the United States agrees that Defendant has exhausted

administrative remedies or that the United States will waive the exhaustion requirement in this

case.

SO ORDERED.
Date: 10/30/2020




                                                2
Case 1:17-cr-00202-JPH-MJD Document 46 Filed 10/30/20 Page 3 of 3 PageID #: 130




Distribution:

All Electronically Registered Counsel




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